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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF TEXAS
                                HOUSTON DIVISION

UNITED STATES OF AMERICA,                        §
                                                 §
                       Government,               §
                                                 §
VS.                                              §     CRIMINAL NO. H-14-195-5
                                                 §
VITUS NWOSU OFOMA,                               §
                                                 §
                       Defendant.                §


                                    ORDER OF REFERRAL

       Having considered the defendant’s consent, this cause is hereby referred to United States

Magistrate Judge Mary Milloy for the purpose of administering the plea of guilty and the

FED.R.CRIM.P. 11 Allocution, subject to the final approval and imposition of sentence by this Court.

               SIGNED on November 18, 2014, at Houston, Texas.


                                                     ______________________________________
                                                              Lee H. Rosenthal
                                                        United States District Judge
